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                                                                               ANGELAE.NOBLE
                                                                               cLERK 0.S.D1s'rc'n
                JA M ES BUCK M AN et,al.,                                      s.p.ofnFLA.-MI AMI


                  Plaintiff
                   V.                              case No.19-cv-24184-M GC

                LANCASTER M ORTGAGE CO M PANY et.Al,.

                  Defendants,

                                                      +

                              JUDGE M ARCIA CO OKE M UST RECUSE HERSELF AND

                                        M EM O R AN D UM O F LAW



        PursuanttoFloridaStat.112. FloridaRule2.l60(H)andFederalRulesofCivil
        ProcedureRule 60,PlaintiffJamesBuckman hereby tilesthis M otion for Relief
        & Recusal and Supporting M emorandum               regarding the R1t 15, 2020
        JudgeM arcia Cooke review of the record and FinnlJudgementOrder,Exhibit.A .B.and
        C basedonthefollowingfacts,new lnfonuation,Rulejusttenns,judicialmisconduct,
        fraudulentgroundsand discovered contlictofpersonalinvestmentinterestson
        FinancialDisclosuresofJudgesandoffkersofthisCourt(Exhibit#A1)
        Attached-American Funds,ChaseBank,etc.SpecialSituation Propertv FundsAccount
        Page42,IFRS 2018 Tables9-13,SEC Filings-Deutsche Bank Florida Subsidiaries,
        JudgeM arciaG.CookeFinanciallnterests& PropertyDisclosures).
        FloridaRule2.160 (H )SWI'
                                .
                                N,4 Judzemav VacatehisordersforConm ctofInterest
        TheodoreR.Bundv P:JudzeJohna4.Rudd FI.Rule2.160 (D)(1.Fl.CodeJud.
        Conduct,Canon 3E(1)-4 Judzeshalldisqualifvll/at:e/fwltereimnartialitv/A#2/1/
        reasonablv bequestioned Rule2.160 (D)(1)zroundstodisqualifvisplz'/pfears
        #k##e isBiased Fl.Statue 112.312 (8).
        .                                   #'
                                             lz##ecan 'thave a conflictofInterestJ
            F
Case 1:19-cv-24184-MGC Document 61 Entered on FLSD Docket 02/17/2021 Page 2 of 7




        Judge M arcia Cooke m ust Recuse herself for an open obvious Conflict of
        lntererest because'she's doing business w ith Deutsche Bank who took over
        from Lancasterm ortgage Company and helpingthem to make moneyso that
        shecan make moneybyforeclosingand taking (stealing)ourpropertywhile
        acting as the Judge on the case on ourproperty,not on case's M erits but for
        to m ake herand them m oney Illegally.Here's proof. .


        1. Judge M arcia Cooke says that Am erican funds,Janus Funds,Chase Bank,
        Cosco, Target, Group, Fedex, Apple, Berthshire Hathaway, GeneralM otors,
        Dunkin Brands,Ford M otor Com pany,StarBucks Corp.FibitCLA, Northstrom
        And Vaill Resorts, on the form 6 see Ex.A1 fulland public disclosure of
        Financialinterests are the Bank and various com panies she's doing business
        with,because she's doing businesswith Deutsche Bank and helping them to
        m ake m oney so that she can m ake m oney by foreclosing and taking our
        property w hile acting asthe Judge to take the property and noton the M erits
        ofthe case but for to m ake her and them to m ake m oney illegally.Here's
        proof:In hpr Form 6,from Tallahassee called FULL AND PUBLIC DISCLOSURE
        OF FINANCIAL, form 6, Exh.A1. Savs page 4 line 1 Judge M arcia Cooke is
        doing Businesswith Chase (IRA)which is derived from Chase Bankwhich has
        been entered on her investments and trusts with an undisclosed amount,
        never the less JpM oraan Chase Bank is Iisted as one of Deutsche Banks
        Holdingson Exibitlb and b2 which miahtbe reasonablv be questioned,and
        theJanusFund isIistedofhavingan investmentofatIeast$15,000.00orIess
        bvJudge Marica Cooke buttheJanusFund doesbusinesswith Deutsche Bank
        asshown in exhibit C1 pg.3 and exb.D1 pg.1&2,and Am erican Funds is also
        on herform 6 in which a $15,000.00 investmentwas made butAmerican
        Funds is also doing business with Deutsche Bank NA as seen on Exb.E and
        ExhibitE2on page 2 Deutsche Bank hasAmerican Fundslisted asa Holderon
        their Iist of shares, Costco is another one on her Iist in which she m ade
        another$15,000.00 investmentbutasseen on exhibitFand G thev are also
        doina business w ith Deutsche Bank, and Judge Cooke also has m ade an
        investmentof$15,000.00 orIessonherform 6toTaraetCorpisalsoaconflict
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        of interest w ith Deutsche Bank as seen in Exb-H pg.2, and then another
        investmentof $15,000.00 orIess was made to Fedex on herform 6 see
        exhibit lFedex is doing business w ith Deutsche Bank,and an investm ent of
        $15,000.00 orlesswasinvested in Apple which wasalso found to be doina
        business w ith Deutsche Bank in exhibits1 & K and Berkshire Hathaw av is on
        herform 6 with no amount ofa Iisted investmentmade butthey were still
        doing business withe deutsche bank on exhibit L pg. 1, and on exhibit M
        Berkshire Hathaw av is doina business w ith JpM organ, Apple, and Costco
        alongwith Deutsche Bank.Anda$15,000.00orIessinvestmentwasmadeto
        GeneralM otors.     as seen in exhibit N General M otors is doing business
        w ith Deutsche Bank. And then an investm ent w as m ade in another
        undisclosedamountof$15,000.00 orIesswasmadeto DunkinBrandsbutas
        vou w illsee on exhibit O & P Dunkin brands is connected to M organ Stanlev
        and M organ Stanlev is connected to Deutsche Bank.And also on exhibit PP a
        $15,000.00 orIess investmentwas made on herForm 6 exb.A1 to Ford
        MotorCo.And asyou cansee on exhibitPPand Q ford MotorCompqanv was
        doing business w ith Deutsche Bank and also on Her Form 6 an undisclosed
        amountagainof$15,000.00 orIesswasinvestedintoStarbucksseeexhibitR
        and in that exhibit R Starbucks is doing business with Deutsche Bank.And
        also on her form 6 Financials an investm ent in an undisclosed am ount was
        madeof$15,000.00orlessto FitbitInc.OnexhibitSbutasseen onExhibitS
        Fitbit is doing business with Deutsche Bank,and also anotherinvestmentof
        $15,000.00orIesswasentered onJudgeCookesform 6to Nordstrom,buton
        exhibitT Nordstrom isalso doing businesswith Deutsche Bank.And finallv an
        investm ent w as m ade again on her form 6 financials in an undisclosed
        amountof$15,000.00 orIess to VailResortsasseen'on exhibit U,V and W
        butwhatalso isseen isvailresortsisalso seen doing businesswith Deutsche
        Bank.


        Deutsche Bank isthe sam e Bank thatshe's passing Orders on against
        usthat'sforeclosing,which isa majorconflictofinterestagainstus.,
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          Exh.1B, thru Exb. W           of the afore m entioned exhibits and
          therefore,ludge M arcia Cooke m ustDISQUALIFY,RECUSEYOURSELFAND
          VACATE herORDERS ON OUR PROPERTY 1977 NE 119thRd.M iam iFla.33181




                                    M EM OR AN DU M       OF LA W
          The Plaintifs m aintains tim ely Constitutionaldue process civil
         rightsforFloridaRule2.160(H)and FederalRule60Reliefto
         closethiscasewiththeoriginalDismissalwithPrejudiceinour
          the D efendants favorw ith requirem entofJudge M arcia Cooke
         R ecusalbased on exposed financialcontlictsofinterestsFla.
          Stat.l12.312(8)(9).
         Rule2.160 (/# andFRCP Rule60,relieffom .ludgmentOr
          Order. and to vacate O rder

         Theiristobeno conjlictofinterest w ith the Judge and the
         PlaintffagainstDEFENDANTS.IikeDeutscheBank
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  time to ???t?vt?J?
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         3. Fraud w hether previously called intrinsic or                             extrinsic,
         m isrepresentation orm isconductby an Opposing party
         A Judge is expected to Recuse him self pursuant to Florida Rule
         2.160 (H) Says A Judge may Vacate his orders for Conflict of Interest
         TheodoreR.Bundy V.JudgeJohnA.Rudd F1.Rule2.160 (D)(1)Fl.Code
         Jud. Conduct, Canon 3E(1) A Judge shall disqualify himself where
         impartiality mightreasonably be questioned Rule 2.160 (D)(1)groundsto
         disqualify isparty fearsJudge is
Case 1:19-cv-24184-MGC Document 61 Entered on FLSD Docket 02/17/2021 Page 5 of 7




          BiasedFl.Statuel12.312(8)Judgecan'thaveacontlictofInterest!andFed.
          28 U.S,C.j 455 Under j 455(a),Recusalismandatory in Stany
          proceeding in w hich his im partiality m ight reasonably be
          questioned.''Fl.CodeJud.Conduct,Canon3E(1)A AndUnderj455(b),
          ajudge isexpected to disqualify him selfwheneverany ofthefive
          statutorily prescribed criteria can be show n to exist in fact;even if
          no m otion or affidavit seeking such relief has been tiled, and
          regardless of w hether a reasonable person w ould question the
          judge'simpartiality.
            FI.Code Jud.Conduct,Canon 3E(1)aod-Fed.Section455*)heshallalso
          disquall
                 fyhimselfinthejollowinqcircumstancess.

 (4) Hel??t?w.
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                                             CO N CLU SION

          This M otion for Relief by vacating order Judgm ent Florida Rule
          2.160 (H)and Recusalisbased on new facts,related to a whistle
          blow er's inform ation, w illful blindness, fraud, m isconduct, and
          discovered evidence unknow n at the tim e of the original
          Com plaint filing Plaintiff could notreasonably know the financial
          dealingswith Defendantsofayetto be assignedjudge beforethe
          originalCom plaintfiling A s previously displayed by hisD ism issal
          O rder,due to cited im çroper Gnancial contlicts of interest,Judge
          M arcia Cooke w as incapable of im partially and w ithout anim us
          against Pro-se Plaintiff or to exercise unbiased judicial duties
Case 1:19-cv-24184-MGC Document 61 Entered on FLSD Docket 02/17/2021 Page 6 of 7




        required fordue processjustice in this case.Judge M arcia Chas
        creditor loan history and business w ith D efendant D eutsche B ank
       thatcaused preferentialQuid Pro Quo treatmentby her.suasponte
        review and FinalJudgm entO rder.
        Judge M arcia Cooke has signiticantly exposed investor tinancial
        interests in the subjectmatter in controversy with Plaintiffs and
        D efendants D eutsche Barlk .that w ill be substantially negatively
        affected by the outcom e ofthatproceedings w hen the D efendants
        ttultim ately prevails and prom otes in paid for adds in the m edia.
        Because people can't w in w hen the Judge is on the side of the
        Bankstersto stealproperty and m oney offtheirPrey!

               Exam ple of Judges w ho already recused them selves from
           U S B ank

        1. JUD G E D A RRIN P.G A Y LES E xhibit.P1.
        2. TH OM A S W ILLIAM S Exhibit.O 1.


                                   REQUIRED RELIEF
       Pursuant to Federal Rules of C ivil Procedure Rule 60, Plaintiff
       requires R elief from the JudMm ent O rders Exh.C 11. D 11. &
       exh-A based upon the stated facts,justterms,cited misconduct,
       Rule 60 grounds and new ly discovered banking realestate fraud
       by court officers. Said Reopening R elief w ould require the
       V acating of herO rders,D isqualify and RecusalofJudge M arcia
        Cooke from this and any ofour future related D eutche B ank real
       estate cases. The D ism issal O rder R elief also requires that a11
       parties be reinstated to their prior positions          this action
       requiring C lerk issuance of Sum m ons upon the D efendants and
    Case 1:19-cv-24184-MGC Document 61 Entered on FLSD Docket 02/17/2021 Page 7 of 7
%




            allow the filing of a M otion to D ism iss Judge M onica C ooke's
            O rders forcause,grounds and reasons stated herein filed




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            Fax:954-512-1818 A N D TO A TTO RN EY D anielS.H urtesFla.state
            BarNo:69104,E-M ai1:(Dl-lurtes@ blankrome/com).
